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FILED

United States District Court
Albuquerque, New Mexico

UNITED STATES DISTRICT COURT  (jitchell 2 Elfers

for the
District of New Mexico Clerk of Court

 

United States of America

Vv.

Dominic T. Thomas,
Defendant

Case No, MJ 1:21-01365-001 BPB

 

WAIVER OF PERSONAL PRESENCE AT HEARING

 

 

I, Dominic T. Thomas, , Defendant, understand that I am scheduled for
Initial nearing on 9/14/2021
nature of hearing date

I understand that I may appear by video for this proceeding. I hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.

[ee

 

 

 

Date: 2/14/2021 Ce
oe Defendant's signature
21
Signature of defendant's attorney
Buck Glanz
Printed name of defendant's attorney
buck_glanz@fd.org

 

Defendant's atiorney’s e-mail address
